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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
     Plaintiff,                           )
                                          )
v.                                        )   No. 4:20-cr-00135-SRC-SPM-1
                                          )
LAWRENCE R. ARNOWITZ,                     )
                                          )
     Defendant.                           )

                                 MEMORANDUM

     Comes now Patrick T. Conroy, Attorney for Defendant and files

suggestion of death in the above-described matter. Defendant passed

away on May 6, 2021, in the City of St. Louis, Missouri.

                                     /s/ Patrick T. Conroy
                                    Patrick T. Conroy #41160MO
                                    Attorney for Defendant
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                           CERTIFICATE OF SERVICE

     The undersigned hereby certifies that the foregoing was filed
electronically with the Clerk of the Court to be served by operation
of the Court’s electronic filing system upon the Office of the U.S.
Attorney this 13th day of May, 2021.


                                           /s/ Patrick T. Conroy
                                          Patrick T. Conroy #41160MO
